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                         IN THE UNITED STATES DISTRICT COURT
                              DISTRICT OF SOUTH DAKOTA
                                  WESTERN DIVISION

 DAVID FINNEMAN,

                               Plaintiff,
 v.                                                                            - Case No.: 5:23-CV-05034-KES

UNITED STATES DEPARTMENT OF
AGRICULTURE, RISK MANAGEMENT
AGENCY, and FEDERAL CROP
INSURANCE CORPORATION,

                               Defendants.


                               FIRST AMENDED COMPLAINT


         COMES NOW the Plaintiff, David Finneman, by and through counsel, and for his ea\¼Se

 ofactionFirst Amended Com plaint against the Defendants, United States Department of

Agriculture, Risk Management Agency and Federal Crop Insurance Corporation, states as

follows:

                                            I. PARTIES

      1. Plaintiff David Finneman is an adult resident of Pennington County, South Dakota,

engaged in the business of farming in Pennington County and is the named insured under a policy

of federally reinsured Whole Farm Revenue Protection (WFRP) crop insurance issued by

Approved Insurance Provider ("AIP") Producers Agriculture Insurance Company ("Pro Ag").

      2. Defendant United States Department of Agriculture ("USDA") is a department of the

United States federal government and parent agency of Defendant Risk Management Agency

("RMA"), which in tum administers Defendant Federal Crop Insurance Corporation ("FCIC"), a

wholly government-owned entity (collectively, "Agency Defendants"). The Agency Defendants

                                                Exhibit
                                                          exhibitsticker.com




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 may be served with process of this Court by serving copies of the Summons and Complaint at

 the following addresses:

                                   Alison J. Ramsdell, USA
                                    District of South Dakota
                                325 South 1st Avenue, Suite 300
                                     Post Office Box 2638
                             Sioux Falls, South Dakota 57101-2638

                             Attorney General Merrick B. Garland
                             950 Pennsylvania Avenue Northwest
                                Washington, D.C. 20530-0001

                                    Risk Management Agency
                         Attn: Director of Administrative Review Division
                            1400 Independence Avenue SW, Stop 0806
                                   Washington, DC 20250-0806

                               II. JURISDICTION AND VENUE

    3. The Plaintiff's cause of action arises from the Defendant RMA's adverse decision in

 response to Plaintiffs request for a noncompliance determination under his WFRP Policy and 7

 C.F.R. §400.352(b)(4), i.e., a determination that the AIP, its employee, agent or loss adjuster

 failed to comply with the terms of the policy or procedures issued by FCIC and such failure

 resulted in the insured receiving a payment in an amount that is less than the amount to which the

 insured was entitled.

    4. On April 25, 2023 , USDA's National Appeals Division ("NAD"), by and through its

 Director Frank M. Wood, upheld the adverse decision that RMA lacked the authority to issue a

 noncompliance determination under his WFRP Policy and 7 C.F.R. §400.352(b)(4).

    5. Plaintiff David Finneman has exhausted all administrative remedies and hereby seeks de

nova review as a matter of right pursuant to 7 U.S.C. , 6999 and 5 U.S.C. §706(2)(f).701. et seu.

    6. The determination made by the Agency Defendants amounts tois arbitrar.. capricious. an

abuse of discretion. or otherwise not in accordance with controlling law. Said determination is

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unsupp011ed b, substantial evidence in the a!lenc, hearirn2 record and is unwarranted by the facts

to the extent that the facts are subject to trial de nova by the reviewing District Court.

    7. Therefore, the United States District Court for the District of South Dakota, Western

Division, has exclusive jurisdiction over this action pursuant to 5 U.S.C § 701, et. seq., 7 C.F.R §

 11.13, 7 U.S.C § 1508 and 28 U.S.C §1131.

    8. All of the wrongs complained herein arise from regulatory interpretations made by the

Agency Defendants with respect to Plaintiffs 201 7 WFRP policy in Pennington County, South

Dakota. Therefore, venue is appropriate in the Western Division of the District of South Dakota.

See 28 U.S.C §139l(e).

                                   III. STATEMENT OF FACTS

    9. In crop year 201 7, Plaintiff David Finneman applied for and was issued a policy of

Whole Farm Revenue Protection (WFRP) through Pro Ag, Policy No. 2017-46-987-1029811 .

See Exhibit 1 & Exhibit 2.

    10. Finneman provided Pro Ag with true, accurate and timely information regarding his

current and past farming operation as solicited by Pro Ag's duly appointed agent, Stuart Hofer,

of Pickard Insurance Services, of Volga, South Dakota.

    11. Moreover, in 2017, Pro Ag insured all crops in all counties and states farmed by

Finneman and by any entity in which he held any substantial beneficial interest.

    12. Crop year 2017 was the first year that David Finneman farmed in his individual capacity,

having previously farmed as part of a South Dakota limited liability company, C & D Acres,

LLC.

    13 . C & D Acres, LLC was established by David and his wife Connie (hence the "C & D"),

but by Dissociation filed with the South Dakota Secretary of State on May 16, 2011, Connie



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  Finneman "voluntarily dissociate[d] from C & D Acres LLC because of physical and health

  reasons." See Exhibit 3.

      14. Thereafter, C & D Acres, LLC continued to farm as a single-member LLC, including the

  following crops insured by Pro Ag under traditional Multiple Peril Crop Insurance (MPCI) 1

  policies in crop year 2017:

           Pro Ag Polic No.         Crop              Acres             Countv. State
           20-987-1031310            Soybeans         213.3             Kingman County, Kansas
           46-987-1031311           Safflower         178.4             Pennington County, South Dakota
           46-987-1031314           Safflower         473.7             Meade County, South Dakota
           46-987-1031638           Soybeans           53.2             Aurora County, South Dakota
           46-987-1031641           Soybeans          124.9             Jerauld County, South Dakota

 See Exhibits 4, 5, 6, 7 & 8.

     15. In addition to C & D Acres, LLC's 2017 crops listed above (and insured by separate Pro

 Ag MPCI policies as provided), David Finneman farmed in his individual capacity 316.0 acres of

 non-irrigated corn and 280.0 acres of non-irrigated safflower in Pennington County, South

 Dakota.

     16. Although available (at least for the safflower), Finneman did not take out a separate

MPCI policy on the corn and safllower acres farmed in his individual capacity and covered by Pro

Ag WFRP Policy No. 2017-46-987-102981 l.

     17. Following acceptance of Finneman's WFRP application, Pro Ag issued a Schedule of

Insurance for Policy No. 2017-46-987-102981 l, confirming "Whole-Farm Liability" of $147,096

and "MPCI Liability" of zero. See Exhibit 2.


 1
   MPCI is the traditional federally reinsured insurance that insures a stated yield, or production guarantee, based
 upon the insured's actual production history, at a price established by Risk Management Agency. MPCI and WFRP
 are two separate policies, and WFRP may cover commodities for which MPCI is not available. The same physical
 crops and acres may be insured under separate MPCI and WFRP policies, but under the terms of the WFRP policy,
 any MPCI indemnity is counted as part of the "Revenue-to-Count."

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     18. Notably, no "Associated Underlying MPCI Coverage" is listed in the Pro Ag WFRP

Schedule of Insurance. Id.

     19. It is undisputed that David Finneman incurred an otherwise insurable loss under his 2017

 WFRP Policy.

     20. Furthermore, it is undisputed that the com and safflower acres insured under Pro Ag

 WFRP Policy No. 2017-46-987-1029811 produced no revenue. See Exhibit 9 at 2.

     21. However, in its April 20, 2018, letter, Pro Ag advised Finneman that WFRP Policy No.

 2017-46-987-1029811 was being voided, that Pro Ag's "Whole-Farm Liability" was being

 revised to zero and that Pro Ag would be keeping 20 percent of his previously paid premium. See

 Exhibit 9.

     22. Specifically, Pro Ag determined that Connie Finneman, David's wife, had a substantial

beneficial interest (SBI) in the crops insured under Pro Ag Policy No. 2017-46-987-1029811,

having failed to meet the "legally separated" requirement of the WFRP Policy and FAD-049. See

Exhibit 1.

     23. The "legally separated" issue was resolved in the arbitration in favor of David Finneman

by Arbitrator's Order dated January 13, 2020. See Exhibit 10.

     24. Pro Ag nevertheless maintained its contention that no liability was due under Pro Ag

Policy No. 2017-46-987-102981 l, having reviewed and revised various aspects of the WFRP

Policy, and having reduced Finneman's guaranteed "Whole-Farm Liability" of $147,096 to net

zero. See Exhibit 2.

     25. Following written submissions by the parties and oral argument of their respective

positions, Arbitrator David A. Allgeyer issued his June 20, 2022 (mislabeled "2020"), Findings,

Determinations, and Award. See Exhibit 11.



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      26. On July 19, 2022, Pro Ag filed its Petition to Vacate or, in the Alternative, Nullify

 Arbitration Award in the U.S. District Court for the District of South Dakota, Western Division,

 Case No. 5:22-CV-05062-KES.

     27. In response, David Finneman filed his Answer and Counterclaim in Case No. 5:22-CV-

  05062-KES on October 7, 2022, requesting confirmation of the arbitration award.

     28. Alternatively, Plaintiff seeks the award of compensatory damages, punitive damages,

 and attorney's fees and costs under state law and as permitted under 7 C.F.R. §400.352 (b)(4).

     29. Simultaneously, David Finneman requested a RMA determination pursuant to Section 33

 of the WFRP Policy and 7 C.F.R. §400.352(b)(4), that Pro Ag failed to comply with the terms of

 Finneman's 2017 federally reinsured crop insurance policy and the procedures of the FCIC,

 which resulted in Finneman receiving payment in an amount less than the amount to which he

 was entitled. See Exhibit 12.

     30. On October 31, 2022, Defendant RMA issued a final decision letter denying Plaintiff's

request for a non-compliance determination, refusing to take up the issue. See Exhibit 13.

     31. David Finneman then appealed RMA' s adverse decision on November 29, 2022, through

Defendant USDA's National Appeals Division. On January 18, 2023, David Finneman requested

a determination on record review. See Exhibit 14.

     32. Defendant RMA determined the Agency lacked the authority to issue a compliance

determination due to the lack of an equivalent provision to Section 20(i) within the 2017 WFRP

Policy. "Regretfully, the 2017 WFRP Policy, which the arbitration was based on, does not have a

contract provision which authorizes the DAC to provide such a determination." See Exhibit 13 .




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      33. On February 22, 2023, Hearing Officer Ryan M. Eagleson issued a finding on record

review that Defendant RMA did not err in its decision in refusing to render a compliance

determination. See Exhibit 15.

     34. Plaintiff David Finneman disputed the conclusions of the February 22, 2023, Appeal

Determination, and sought a final administrative Director Review through Defendant USDA's

National Appeals Division. See Exhibit 16.

     35. USDA's National Appeals Division, by and through its Director Frank M. Wood, issued

a determination dated April 25, 2023, upholding the adverse decision of Hearing Officer Eagleson,

thus exhausting Plaintiffs administrative remedies. See Exhibit 17.

     36. The Director ofNAD upheld Defendant RMA's determination that the Agency lacked

authority to issue a compliance determination in absence of a permitting contractual provision or

"an equivalent clause allowing producers to pursue damages with RMA's blessing[.]" See Exhibit

13; Exhibit 15; Exhibit 16.

     37. However, RMA has consistently equated the provisions of 7 CFR § 400.352 to Section

20(i) of the Basic Provisions. See Exhibits 18, 19, & 20.

     38. Defendant RMA incorrectly applied controlling law in failing and refusing to issue a

noncompliance determination under 7 C.F.R. §400.352(b)(4), provisions of which state:

         (b) The following is a non-inclusive list of examples of actions that State or local
         governmental entities or non-governmental entities are specifically prohibited
         from taking against the Corporation or any party that is acting pursuant to this
         part. Such entities may not:

         (4) Levy fines,judgments, punitive damages, compensatory damages, or
         judgments for attorney fees or other costs against companies, employees of
         companies including agents and loss adjustors, or Federal employees arising out
         of actions or inactions on the part of such individuals and entities authorized or
         required under the Federal Crop Insurance Act, the regulations, any contract or
         agreement authorized by the Federal Crop Insurance Act or by regulations, or
         procedures issued by the Corporation (Nothing herein precludes such damages


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        being imposed against the company if a determination is obtained from FCIC
        that the company, its employee, agent or loss adjuster failed to comply with the
        terms of the policy or procedures issued by FCIC and such failure resulted in
        the insured receiving a payment in an amount that is less than the amount to
        which the insured was entitled); ...

Id. (emphasis added).

    39. Alternatively, this Court should declare in absence of a 20(i) determination that no such

determination is necessary for Finneman to proceed with his state law cause of action of

compensatory damages, punitive damages, and attorney's fees and costs in Case No. 5:22-cv-

05062-KES.

    40. At least until recently, Agency Defendant RMA has seemingly taken the position that

 judicial review was a prerequisite to the award of "extra-contractual damages" by "State

 courts." See Final Agency Determination FAD-193; Final Agency Determination FAD-240;

 Final Agency Determination FAD-251.

   41. However, in this and other similar cases, the Agency has seemingly signaled a shift in

 that view, declaring instead that a determination may provide a "greenlight" to insureds, or

 make it "easier", to pursue extra contractual damages but a lack of such determination does not

 prohibit the insured from moving forward with their claim. See NAD Case No. 2022S000219,

 In the Matter of Dupree Farms, LLC and Risk Management Agency; accord Pelzer v. ARMtech

 Insurance Services, Inc., 928 F .Supp. 2d 1071 (E.D. Ark. 2013) (acts and omissions of an

 insurer or its employees, agents and servants resulting in liability under state and common law

 theories not explicitly preempted by the policy's arbitration clause remain within jurisdiction of

 state and federal courts); see also Plants, Inc. v. Fireman's Fund Insurance Company, 2012 WL

 3291805 (Tenn. Ct. App.); Farmers Crop Insurance Alliance v. Laux, 442 F. Supp .2d 488

 (S.D. Ohio 2006); 7 C.F.R. §457.8 ,r20.



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      42. The failure and refusal of Agency Defendants to issue a non-compliance determination is

contrary to controlling lav,, and amounts to an arbitrary and capricious denial of Plaintiff's rights

and protections under his '.VFRP Policy and the FCIA and the rules and regulations promulgated

thereunderarbitrar\'. capricious. an abuse of discretion. or otherwise not in accordance with

controlline: law. Said detennination is unsupported b\ substantial evidence in the a2enc, hearirn..!

record and is unwarranted b, the facts to the extent that the facts are subject to trial de nova b, the

reviewin!..! District Comt.

      43. +htsTherefore. this District Comt should heMdecide all relevant questions oflaw.

interpret constitutional and statutol"\· provisions. and determine the meanine or applicabili1, of the

terms of the a1..1.enc, action. holdirn..! said actions of Defendant RMl\.the Defendants unlawful.,_ and

set those actions aside the Defendants' adverse detennination in accordance with 5 U.S.C.

§706(2)(A).

                                       IV. CAUSE OF ACTION

     44. Plaintiff restates, realleges and incorporates by reference the allegations set forth in

numbered paragraphs 1. through 43. of his Complaint.

     45. Plaintiff David Finneman seeks and is entitled to review and reversal of the adverse

administrative determination by the Agency Defendants and judgment in his favor. See 7 U.S.C.

s6999 and 5 U.S.C. §701 , et-c seq.; see also 7 C.F.R. § 11.13; 7 USC §1508.

     46. The points on which Plaintiff seeks review and judgment include, but are not limited to,

the following:

     (a) The Agency's failure and refusal to issue a noncompliance determination under the

WFRP Policy and 7 C.F.R. §400.352(b)(4), i.e. , a determination that the AIP its employee, agent

or loss adjuster failed to comply with the terms of the policy or procedures issued by FCIC and



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such failure resulted in the insured receiving a payment in an amount that is less than the amount

to which the insured was entitled, is arbitrary and capricious and an abuse of discretion;

      (b) The Agency's failure and refusal to issue a noncompliance determination under the

WFRP Policy and 7 C.F.R. §400.352(b)(4), i.e., a determination that the AIP its employee, agent

or loss adjuster failed to comply with the terms of the policy or procedures issued by FCIC and

such failure resulted in the insured receiving a payment in an amount that is less than the amount

to which the insured was entitled, is contrary to controlling law;

      (c) The Agency's failure and refusal to issue a noncompliance determination under the

WFRP Policy and 7 C.F.R. §400.352(b)(4), i.e., a determination that the AIP its employee, agent

or loss adjuster failed to comply with the terms of the policy or procedures issued by FCIC and

such failure resulted in the insured receiving a payment in an amount that is less than the amount

to which the insured was entitled, is unsupported by substantial evidence in the agenc\' hearim.!

record.

      ( d ) The At?.enC} 's failure and refusal to issue a noncom pliance determination under the

WFRP Polic, and 7 C.F.R. s400.352(b)(4). i.e .. a detennination that the AIP its em plo, ee. al!ent

or loss ad juster failed to comph with the terms of the polic, or procedures issued b, FCIC and

such failure resulted in the insured receivin!! a pa, ment in an amount that is less than the amount

to which the insured was entitled. is unwarranted b, the facts to the extent that the facts are subject

to trial de novo b, the reviewinl.!. District Court.

    47. In the alternative, this Court should declare that Plaintiff David Finneman is not required

to obtain a noncompliance determination under 7 C.F.R. §400.352(6)(4) by RMA to proceed with

his state law causes of action of compensatory damages, punitive damages, and attorney's fees and

costs in Case No. 5:22-cv-05062-KES.



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      WHEREFORE, PREMISES CONSIDERED, Plaintiff David Finneman prays for the

judgment of this Court reviewing and reversing the administrative determination of Defendants

United States Department of Agriculture, Risk Management Agency and Federal Crop Insurance

Corporation, that Plaintiff David Finneman was not entitled to a noncompliance determination

under the WFRP Policy and 7 C.F.R. §400.352(b)(4), i.e., a determination that the AIP its

employee, agent or loss adjuster failed to comply with the terms of the policy or procedures issued

by FCIC and such failure resulted in the insured receiving a payment in an amount that is less than

the amount to which the insured was entitled; that the Defendants' administrative determination

was arbitrary, capricious, contrary to an abuse of discretion. or otherwise not in accordance with

controlling law-aae.._lli unsupported by substantial evidence in the m..1,enc, hearirn1 record and is

unwarranted b, the facts to the extent that the facts are subject to trial de novo b, the reviewing

District Court; or in the alternative, declaring that Plaintiff David Finneman is not required to

obtain a noncompliance determination under the WFRP Policy and 7 C.F.R. §400.352(b)(4) to

proceed with his state law causes of action of compensatory damages, punitive damages, and

attorney's fees and costs in Case No. 5:22-cv-05062-KES; and for such other and further relief as

may be just and proper.



                                                          Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I. NAOMI R. CROMWELL. attorne, for Plaintiff in the above stvled and numbered

cause. do hereb, certil, that I have this da, served by electronic means throm1.h the Court's

electronic filinu s, stem pursuant to Fed. R. Civ. P. 5(b)(2)(E) a true and correct cop, of the



Avenue. Suite 300. Sioux Falls. South Dakota 57101-2638.

       IBIS. the 17th dav of November. 2023.


                                                              Isl N   cw--m.u 'R.. C v01'nMJeU,
                                                              NAOMI R. CROMWELL




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